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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


ELIJAH DWAYNE JOUBERT,                    §
                                          §
                Petitioner,               §
                                          §
v.                                        § CAUSE NO. 4:13-cv-03002
                                          §
BOBBY LUMPKIN, Director, Texas            §
Department of Criminal Justice, Crim-     §
inal Institutions Division,               § CAPITAL HABEAS CASE
                                          §
                Respondent.               §


     PETITIONER’S UNOPPOSED MOTION FOR 1-WEEK EXTENSION OF
             TIME TO FILE SECOND AMENDED PETITION
       Through counsel, Petitioner Elijah Dwayne Joubert moves this Court to grant

his unopposed request for a one-week extension of time to file a second amended ha-

beas petition. Mr. Joubert’s amendment is currently due on or before July 6, 2022.

Respondent does not oppose the relief sought herein which would make the amend-

ment due July 13, 2022. Mr. Joubert submits the extension is reasonable and justified

by the circumstances set out below.

       By order filed October 15, 2015, this Court stayed and administratively closed

these proceeding to give Mr. Joubert an opportunity to exhaust unexhausted claims.

Order, ECF No. 41, at 2. The Court directed that Mr. Joubert move to reopen the case

within 30 days of the conclusion of state review. Ibid. Finally, the order granted Re-

spondent’s motion to suspend the briefing schedule and directed the parties to submit

a joint proposed scheduling order. Ibid. The parties complied with this Court’s orders
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and on September 9, 2021, the Court entered a jointly proposed scheduling order giv-

ing Mr. Joubert until January 7, 2022, to file a second amended petition. ECF No. 64.

On January 4, 2022, this Court granted Mr. Joubert’s first motion for extension of

time to file the second amended petition. ECF No. 66. On February 22, 2022, this

Court granted Mr. Joubert’s second motion for extension of time setting the deadline

to file the amended petition for May 7, 2022. ECF No. 68. Lastly, on April 26, 2022,

this Court granted another request from Mr. Joubert for an extension of time to file,

extending the deadline to July 6, 2022. ECF No. 70.

      Counsel have nearly completed Mr. Joubert’s second amended petition but

need a short amount of additional time. Ordinarily, the time counsel requested would

have been sufficient. But in the past two weeks, one of Mr. Joubert’s attorney con-

tracted COVID-19. Then counsel’s children contracted the virus. Counsel’s symptoms

and the need to care for the children prevented him from contributing to Mr. Joubert’s

petition for more than a week. Although counsel have made up for some of that lost

time, this extension is necessary.

      A brief, seven-day extension of the current deadline is sought to account for

the time that counsel was unable to perform the work necessary to meet the Court’s

deadline. Such an extension would make Mr. Joubert’s amendment due no later than

July 13, 2022.

                       CERTIFICATE OF CONFERENCE

      On June 30, 2022, counsel for Mr. Joubert conferred with counsel for Respond-

ent, Assistant Attorney General Matthew Ottoway, who authorized Petitioner to

state that Respondent does not oppose the relief sought in this Motion.


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      FOR THESE REASONS, Mr. Joubert respectfully requests this Court enter

the attached proposed order.

DATED: June 30, 2022.               Respectfully submitted,


                                    MAUREEN FRANCO
                                    FEDERAL PUBLIC DEFENDER

                                     /s/Tivon Schardl
                                    TIVON SCHARDL
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                            CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of June, 2022, I electronically filed the

foregoing Motion with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel of record.



                                          /s/Tivon Schardl
                                          Tivon Schardl




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